Case: 4:11-cv-00044-CDP Doc. #: 1055 Filed: 10/23/19 Page: 1 of 3 PageID #: 31194



                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION




        A.O.A., et al.,                                )
                                                       )       Case No. 4:11-cv-00044-CDP
                                Plaintiffs,            )           (CONSOLIDATED)
                                                       )
                          vs.                          )
                                                       )
        THE DOE RUN RESOURCES                          )
        CORPORATION, et al.,                           )
                                                       )
                                Defendants.            )

                                       JOINT STATUS REPORT
         Pursuant to the Court’s Third Amended Case Management Order [Doc. 1043], the parties

 submit the following joint report for the Court’s consideration. The parties continue to work to

 comply with previously-set discovery deadlines. Each party will be prepared to update the Court

 on its respective progress during the upcoming status conference. Further, the parties wish to

 inform the Court of the following:

       1)      Status of Sheyla Angela Condor Ortega. As reported in the Parties’ Joint Motion to

Modify Second Amended Case Management Order 15 [Doc. 1042], Plaintiffs have represented that

Final Trial Pool Plaintiff Sheyla Angela Condor Ortega was not available to attend her Rule 35

examination during the timeframe recently set, nor will she be available to travel to the United States in

the near future. The parties disagree on the appropriate remedy for Ms. Condor Ortega’s inability to

appear. Following conferral with Plaintiffs, Defendants intend to submit a formal motion for

appropriate relief in lieu of addressing the issues herein. Plaintiffs will respond to any such motion in

the timeframe permitted by the Federal Rules, or as the Court may deem appropriate.

       2)      Discovery to Majority Age Plaintiffs. Defendants will seek leave to serve limited

written discovery from all majority age Plaintiffs to clarify the number of litigants actually pursuing

                                                   1
Case: 4:11-cv-00044-CDP Doc. #: 1055 Filed: 10/23/19 Page: 2 of 3 PageID #: 31195



claims against Defendants and obtain updated information ahead of the upcoming ADR referral period.

Plaintiffs will oppose this request. Defendants intend to submit a formal motion for relief in lieu of

addressing the issues in this joint status report. Plaintiffs will respond to any such motion in the

timeframe permitted by the Federal Rules, or as the Court may deem appropriate.


Dated: October 23, 2019                       Respectfully submitted,

 SCHLICHTER, BOGARD & DENTON,                        KING & SPALDING LLP
 LLP
 By: /s/ Elizabeth M. Wilkins                        By: /s/ Geoffrey M. Drake
      Jerome J. Schlichter, #32225                      Tracie J. Renfroe, #16777000T
      Roger C. Denton, #30292                           trenfroe@kslaw.com
      Kristine K. Kraft, #37971                         Carol M. Wood, #2594581
      Nelson G. Wolff, #40796                           cwood@kslaw.com
      Elizabeth M. Wilkins, #61284                      1100 Louisiana Street
      100 South 4th Street., Suite 1200                 Suite 4000
      St. Louis, Missouri 63102                         Houston, Texas 77002
      Telephone: (314) 621-6115                         Telephone: (713) 751-3200
      jshlichter@uselaws.com                            Facsimile: (713) 751-3290
      rdenton@uselaws.com
                                                        Andrew T. Bayman, #043342GA
      kkraft@uselaws.com
                                                        abayman@kslaw.com
      nwolff@uselaws.com                                Carmen R. Toledo, #714096GA
      bwilkins@uselaws.com                              ctoledo@kslaw.com
                                                        Geoffrey M. Drake, #229229GA
       Attorneys for Plaintiffs                         gdrake@kslaw.com
                                                        1180 Peachtree Street, N.E.
                                                        Suite 1600
                                                        Atlanta, Georgia 30309
                                                        Telephone: (404) 572-4600
                                                        Facsimile: (404) 572-5100

                                                        James P. Cusick, #4041653NY
                                                        jcusick@kslaw.com
                                                        1185 Avenue of the Americas, 34th Floor
                                                        New York, New York 10036
                                                        Telephone: (212) 556-2170
                                                        Facsimile: (212) 556-2222

                                                     Attorneys for Defendants The Renco Group, Inc.,
                                                     D.R. Acquisition Corp., Doe Run Cayman Holdings,
                                                     LLC, Ira L. Rennert, The Doe Run Resources
                                                     Corporation, Theodore P. Fox, III, Marvin K.
                                                     Kaiser, Albert Bruce Neil, Jeffrey L. Zelms



                                                    2
Case: 4:11-cv-00044-CDP Doc. #: 1055 Filed: 10/23/19 Page: 3 of 3 PageID #: 31196



 LEWIS RICE LLC                                          DOWD BENNETT LLP

     Andrew Rothschild, #23145MO                         Edward L. Dowd, Jr. #28785MO
     arothschild@lewisrice.com                           edowd@dowdbennett.com
     Thomas P. Berra, Jr., #43399MO                      Jeffrey R. Hoops, #69813MO
     tberra@lewisrice.com                                jhoops@dowdbennett.com
     Michael J. Hickey, #47136MO                         7733 Forsyth Blvd., Suite 1900
     mhickey@lewisrice.com                               St. Louis, Missouri 63105
     600 Washington Ave., Suite 2500                     Telephone: (314) 889-7300
     St. Louis, MO 63102-2147                            Fasimile: (314) 863-2111
     Telephone: (314) 444-7600
     Facsimile: (314) 241-6056                       Attorneys for Defendants The Renco Group, Inc.,
                                                     D.R. Acquisition Corp., Ira L. Rennert, and Doe
 Attorneys for Defendants The Doe Run                Run Cayman Holdings, LLC
 Resources Corporation, Marvin K. Kaiser,
 Albert Bruce Neil, Jeffrey L. Zelms, and
 Theodore P. Fox, III


                                      CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on this 23rd day of October, 2019, a true and correct copy of the

foregoing was filed with the Clerk of the Court through the Court’s CM/ECF system, which will effect service

on all counsel of record by sending a Notice of Electronic Filing.


                                        /s/ Elizabeth M. Wilkins




                                                    3
